                    Case 2:15-cr-01515-RB Document 450-16 Filed 06/15/18 Page 1 of 1


                                                                       Linesheet                                                       User:        Janett Rios



 Case:          MS-14-0093             Target:   5759565668-010115                Line:   5759565668-010115             File Number:

 MINUTES AFTER BUBU SEES FREDDY THEN BUBU WOULD GO OVER THERE [NFI]AND IF HE
 [UNK] STARTS WITH HIS [UNK] LYING. BUBU WILL CALL TOBY AND PUT TOBY ON THE PHONE
 AND TOBY WILL TELL HIM [UNK]TOBY ASKED IF FRANK. BUBU AGREED AND TOBY AGREED.
 BUBU SAtD THAT tT WAS GETTTNG ROUGH BORROWTNG TOOLS WHEN [Uit]ALL THAT. TOBY
 TOLD BUBU TO LET TOBY KNOW. BUBU THEN ASKED TOBY FOR A FAVOR IF TOBY COULD
 SEND ABOUT A HANDFUL OF BAGGIES. TOBY SAID TOBY WOULD. PARTIES SAID BYE.
 IEND OF CALLI
 RGiSV




Session:                  1120              Date:                    0111612015                     Pertinent
                                                                                          Classification:                        Duration:     00:00:32
Monitored           By:   rubyg             Start Time:              22:12:57 MST         Complete: Completed                    Directionr     lncoming
ln   Digitsr              5755742491        Asscociate Number: (575) 574-2491             Participants:     PADILLA, TOBY
                                                                                                            TT3 DANIEL JACQUEZ AKA




           L TT-3I
 DAN TO TOBY
 PARTIES GREETED. TOBY TOLD DAN THAT TOBY GOT THAT [NFI]ALREADY. DAN
 ACKNOWLEDGED. TOBY REPLTED THAT TOBY WAS BARELY CHECKTNG rT [NFr] OUT RrcHT NOW
 AND ADDED IT [NFIIWAS ALL THERE [NFI]. DAN ACKNOWLEDGED. PARTIES SAID BYES.
 IEND OF CALLI
 RG/SV




Session:                  1121              Date:                    0111612015           Classification: Non-Pertinent          Duration:     00:00:42
Monitored           By:   rubyg                Time:
                                            Start                    23:13:28 MST         Complete:         Completed            Direction:    None
                                            Asscociate Number:                            Participants:     PADILLA,TOBY



Synopsis
 TOBY TO FREDDY
 TOBY ASKED IF SOMEBODY HAD CHANGED THE COMBINATION ON THE LOCK OF THE TRAILER
 FREDDY NEGATED AND SAID THAT BECAUSE IT WAS COLD TOBY HAD TO MOVE IT AROUND.
 TOBY ACKNOWLEDGED AND SAID HE WAS TRYING TO OPEN IT RIGHT NOWAND ASKED IF IT
 (LOCK) HAD GOTTEN FROZEN THEN. FREDDYACKNOWLEDGED
 FREDDY SAID IT HAPPENED TO HIM LAST NIGHT...
 ICALL DTSCONNECTEDI
                                                                                                                            -    GOVERNMENT
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                                                                              U.S. v. Jacquez et al. (linesheets) 2541
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